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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


                                     JOINT STATUS REPORT

       In accordance with the Court’s November 12, 2021 Order, Google and Yelp Inc. (“Yelp”)

provide this status report regarding the discovery dispute regarding the custodial documents of

Luther Lowe. The parties have resolved their dispute as follows: (1) Yelp will review and

produce responsive documents from a set of 4,348 documents that hit on agreed search terms,

but exclude documents containing attorney names and emails Yelp exchanged with third parties;

(2) Yelp will review and produce responsive correspondence from Plaintiffs; and (3) Yelp will

produce either a document-by-document or a categorical privilege log, the scope of which the
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parties are negotiating, for custodial data it has reviewed by December 13, 2021. Google

reserves the right to raise questions and/or issues with Yelp regarding the forthcoming

productions and the privilege claims asserted in the privilege log to be produced, but otherwise is

not seeking additional production of documents from Mr. Lowe’s records.


Dated: November 17, 2021

                                             Respectfully submitted,

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